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                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
NATALIYA MIKHAYLOVNA FOX,
                                    *
     Plaintiffs,
v.                                  *       CIVIL NO.: WDQ-02-1563

ENCOUNTERS INTERNATIONAL,          *
INC.
                                    *
     Defendants.
                                    *

*    *       *      *     *    *    *       *   *     *    *    *     *

                        MEMORANDUM OPINION

     On June 7, 2005 the Clerk of this Court issued a Writ of

Garnishment to the Clerk of the Court of Montgomery County (the

“Garnishee”) in the amount of $445,579.33.          Pending is the

Garnishee’s Motion to Dismiss the Writ of Garnishment and the

Plaintiff’s objection to Magistrate Judge James K. Bredar’s

Report and Recommendation (the “Report”) of September 30, 2005.

Having reviewed the Report de novo, the Court will overrule the

Plaintiff’s objections, adopt the Report and grant the

Garnishee’s motion to dismiss.



Background

     Plaintiff prevailed in the underlying dispute and was

awarded a judgment in the amount of $433,500.00 and attorney’s

fees of $6,250.00.       In order to enforce the judgment the Clerk of

this Court issued a writ of garnishment seeking to levy on

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property held in the registry of the Court of Montgomery County

in the case of Spivack v. Spivack, a domestic relations action

involving Natasha Spivack, a defendant and judgment creditor in

this case.1        The Garnishee has moved to dismiss the Writ on the

grounds that the property is custodia legis and therefore is not

subject to garnishment.

       Judge Bredar considered the motion and issued his Report;

concluding that the funds were custodia legis.             Accordingly,

Judge Bredar recommended that the motion to dismiss the Writ of

Garnishment be granted.

       Plaintiff has objected to the Report arguing that custodia

legis terminates once the court in possession of the property

orders its distribution and therefore the funds held by the Court

of Montgomery County could be garnished.



II.   Analysis

A.    Standard of Review

       When objections are made to a magistrate’s recommendations

on dispositive matters, the reviewing “judge shall make a de novo

determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.”



       1
        On June 7, 2005 the Circuit Court for Montgomery County
entered an order providing for the disbursement of funds held in
Spivack and on June 17, 2005 the funds were disbursed. The
account balance of the registry is now zero.

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28 U.S.C. § 636(b)(1)(C), see also Aluminum Co. of Am., Badin

Works v. U. S. Envtl. Prot. Agency, 663 F.2d 499, 502 (4th Cir.

1981).    The judge may then accept, reject, or modify the

Magistrate Judge’s findings and recommendations, in whole or in

part.    28 U.S.C. § 636(b)(1)(C).        The court may also receive

further evidence or return the case to the Magistrate Judge with

instructions.     Id.



B.   Custodia Legis

        It is generally held that funds deposited in the registry of

a court are custodia legis and not subject to garnishment.               See

The Lottawanna, 87 U.S. 201 (1873); White v. F.D.I.C., 19 F.3d

249 (5th Cir. 1994); United States v. Rubenstein, 971 F.2d 288

(9th Cir. 1992); United States v. Van Cauwenberghe, 934 F.2d 1048

(9th Cir. 1991); Clarke v. Chicago B. & Q.R. Co., 91 F.2d 561 (10th

Cir. 1937); Bucher v. Vance, 36 F.2d 774 (7th Cir. 1929).           This

doctrine is based on “the desirability of avoiding a clash

between judicial jurisdictions which would result from any

attempt to use the process of one to seize assets in the control

of another judicial authority."        Van Cauwenberghe, 934 F.2d at

1063.

        It is less well settled, however, when custodia legis

terminates.     Plaintiff argues that once the court in the

underlying case makes a determination of the rights of the

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parties and orders distribution, there is no danger of

interference and therefore garnishment should be allowed.          There

is abundant support, however, for the view that funds remain in

custodia legis until they are distributed.       The Lottawanna, 87

U.S 201; Osborn v. United States, 91 U.S. 474 (1875); Van

Cauwenberghe, 934 F.2d 1048; Resolution Trust Corp. v. Heritage

Financial Corp., 1991 WL 136341 (10th Cir. 1991); Landau v.

Vallen, 895 F.2d 888 (2nd Cir. 1990); Bucher, 36 F.2d 774.

Although not controlling, Maryland courts are in accord.           Dale v.

Brumbly, 56 A. 807 (Md. 1904).

     Courts barring garnishment until after distribution have

grounded their decisions on the belief that courts should be free

to operate without interference from other courts.        As the

Maryland Court of Appeals held in Dale,

     Great public inconvenience would arise if money could be
     thus arrested in the hands of [public] officers, and they be
     made liable to all the delay, embarrassment, and trouble
     that would ensue from being estopped in the routine of their
     business-- compelled to appear in court, employ counsel, and
     answer interrogatories, as well as take care that the
     proceedings are regularly carried on.

56 A. at 809.


     In light of these concerns and the relevant case law, the

Court will adopt Judge Bredar’s Report and Recommendation and bar

garnishment of funds held in the registry of the Court of




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Montgomery County.    Accordingly, the Court will overrule the

Plaintiff’s objections and dismiss the Writ of Garnishment.




November 8, 2005                                 /s/
Date                                   William D. Quarles, Jr.
                                       United States District Judge




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